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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:09CR97
                      Plaintiff,                   )
                                                   )
       vs.                                         )              ORDER
                                                   )
JACOB PUTNAM and                                   )
ALYSSA KERR,                                       )
                                                   )
                      Defendants.                  )


       This matter is before the court on the motion of defendant Jacob Putnam (Putnam)
to extend the time to file pretrial motions (Filing No. 25). Putnam has filed an affidavit
wherein he consents to the motion and understands the time required for the motion may
be excluded from Speedy Trial Act calculations (Filing No. 26). The motion will be granted
as set forth below.


       IT IS ORDERED:
       Defendant Putnam's motion to extend the time to file pre-trial motions (Filing No. 25)
is granted. Putnam is given until June 8, 2009, in which to file pre-trial motions. The ends
of justice have been served by granting such motion and outweigh the interests of the
public and the defendant in a speedy trial. The additional time arising as a result of the
granting of the motion, i.e., the time between May 8, 2009 and June 8, 2009, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity
of this case. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 8th day of May, 2009.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
